                                     1 Ronald J. Ellett, Esq. (Bar No. 012697)
                                       Ellett Law Offices, PC
                                     2 2999 N. 44th Street, Suite 330

                                     3 Phoenix, Arizona 85018
                                       Telephone: (602) 235-9510
                                     4
                                         Attorney for Debtor
                                     5

                                     6
                                                         IN THE UNITED STATES BANKRUPTCY COURT
                                     7
                                                               FOR THE DISTRICT OF ARIZONA
                                     8
                                         In re:                                       In Proceedings Under Chapter 11, Subchapter V
                                     9

                                    10
                                                                                      Case No. 2:24-bk-09126-BMW
2999 North 44TH Street, Suite 330




                                    11   SEDONA VINEYARDS LLC,                        NOTICE OF HEARING ON:
    ELLETT LAW OFFICES

    Phoenix, Arizona 85018




                                                                                       (i) BEAVER CREEK GOLF RESORT, LLC'S
                                    12
                                                                                            MOTION 1) TO DECLARE STAY
        (602) 235-9510




                                    13                                                      INAPPLICABLE, PURSUANT TO 11
                                                            Debtor.                         U.S.C. § 362(n); OR ALTERNATIVELY, 2)
                                    14                                                      TO LIFT STAY AGAINST PROPERTY,
                                                                                            PURSUANT TO 11 U.S.C. § 362(d)
                                    15                                                 (ii) MOTION TO APPROVE BEAVER
                                                                                            CREEK SETTLEMENT AND
                                    16
                                                                                            COMPROMISE PURSUANT TO 9019
                                    17                                                Date:       January 28, 2025
                                    18                                                Time:       10:30am

                                    19
                                                                                      Location: Zoom Videoconference

                                    20            NOTICE IS HEREBY GIVEN that the Court has set a hearing on January 28, 2025, at
                                    21   10:30am regarding (i) Beaver Creek Golf Resort, LLC’s Motion 1) to Declare Stay Inapplicable,
                                    22
                                         Pursuant to 11 U.S.C. § 362(n); or Alternatively, 2) to Lift Stay Against Property, Pursuant to 11
                                    23
                                         U.S.C. § 362(d) (Docket No. 36) and (ii) Motion to Approve Beaver Creek Settlement and
                                    24
                                         Compromise Pursuant to 9019 (Docket No. 43). Any responses to the Motions are to be filed no
                                    25

                                    26   later than 5:00pm on January 14, 2025.

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                                    28




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                                                                Main Document    Page 1 of 2
                                     1           This hearing will be held by videoconference. The Videoconference Hearing Guidelines,
                                     2   including detailed instructions for appearing by videoconference, may be reviewed on the Court’s
                                     3
                                         website at: https://azb.uscourts.gov/videoconference-hearing-guidelines.
                                     4
                                                 Any interested parties may appear via https://www.zoomgov.com/ . The hearing ID is 160
                                     5
                                         546 7725 and the passcode is 176614. Alternatively, interested parties may access the hearing
                                     6

                                     7   using the following link:

                                     8   https://www.zoomgov.com/j/1605467725?pwd=bgbwvw6jDQFKhzrT6ydPMhLQ9KO6sV.1.

                                     9           Confirm an appearance by sending an email to Courtroom Clerk Rebecca Volz, at
                                    10
                                         Rebecca_Volz@azb.uscourts.gov, at least three (3) business days prior to the hearing. The email
2999 North 44TH Street, Suite 330




                                    11
    ELLETT LAW OFFICES




                                         is to include the full name of the person appearing and that person’s relationship to the case, the
    Phoenix, Arizona 85018




                                    12
        (602) 235-9510




                                         case name, and the case number.
                                    13

                                    14
                                                 DATED this 20th day of December, 2024.
                                    15
                                                                                           ELLETT LAW OFFICES, P.C.
                                    16

                                    17                                                      /s/ Ronald J. Ellett
                                                                                           Ronald J. Ellett
                                    18                                                     2999 North 44th Street, Suite 330
                                                                                           Phoenix, Arizona 85018
                                    19

                                    20

                                    21

                                    22   copy of the foregoing sent via first class mail
                                         this 20th day of December, 2024, to:
                                    23

                                    24   All entries on the attached Master Mailing Matrix.

                                    25   /s/ Kaitlyn M. Gruden

                                    26

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